         Case 1:21-cr-00327-RC Document 47-1 Filed 01/12/22 Page 1 of 5

                                       SEALED
                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
V.                                                           CAUSE NO. 1:21-CR-327-RC-1
                                                  §
                                                  §
LUKE RUSSELL COFFEE                               §

                     OPPOSED MOTION TO MODIFY PRETRIAL
                           CONDITIONS OF RELEASE
       TO THE HONORABLE RUDOLPH CONTRERAS, DISTRICT JUDGE OF THE

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA:

       COMES NOW Defendant, Luke Russell Coffee, by and through his attorney of

record, Anthony J. Colton, hereby files this Opposed Motion to Modify Pretrial Conditions,

and would show this Honorable Court as follows. As this case has been politicized from the

beginning and every filing is scrutinized and scandalized by the media, Mr. Coffee is filing this

motion as sealed to protect his personal information.

       On April 13, 2021, an Amended Order was entered setting the conditions of Mr.

Coffee’s release from jail. Among his conditions, Mr. Coffee has been required to wear a GPS

monitor and remain in home confinement except for certain preapproved exceptions. Based on

information from Pretrial Officer Masharia Holman, Mr. Coffee has been in compliance with

the Court’s conditions of release.     Further, Ms. Holman expressed that pretrial has no

opposition to Mr. Coffee’s request to remove the GPS monitor and home detention

requirements.

       On August 17, 2021, the defendant, Luke Russell Coffee, filed an Opposed Motion to

Modify Pretrial Conditions. On October 22, 2021, the Court entered a Minute Order Denying

without prejudice ECF No. 35 Defendant’s Motion to Modify Conditions of Release stating the

defendant “did not provide additional details about the necessity of modifying conditions.”
          Case 1:21-cr-00327-RC Document 47-1 Filed 01/12/22 Page 2 of 5




       In an effort to provide these additional details, Mr. Coffee would present the following:

       Mr. Coffee is the owner and operator of the Dallas based company Coffee Productions,

Inc.. He has been running his company for over twelve (12) years. The company has

directed/produced commercials, online spots, and corporate videos. The production

company shoots typically last 10-12 hours plus travel time. Due to the nature of the

advertising business, work hours are typically not the normal 9am to 5pm work hours. Most

outdoor shots involve utilizing the “golden hour” which is the first hour or last hour of the

day.

       Due to his current Pretrial Conditions, Mr. Coffee has been unable to take on work that

would require him to be away from his home outside of the Court’s currently designated

conditions. This has constrained his ability to make sufficient income to sustain the

company and its employees. As such, Mr. Coffee had to let go of his full-time editor who

had been employed with the company for at least a decade. The Pretrial Conditions have

caused Mr. Coffee to turn down or not bid on potential projects. The company is netting

about an 1/8 of what it typically brought in over the past 6-7 years, and it is at the point of

collapse unless another opportunity manifest.

       Mr. Coffee has been in compliance with his conditions for the past eight (8) months.

He has no prior criminal history. He has never had any affiliation with any groups that

would conspire against the United States government, nor does he have any desire to be

affiliated with such. Although he does not believe it is necessary, he would be amenable to

a GPS tracking device in lieu of home confinement if the Court desires to know his

whereabouts at all times. He has zero history of failing to comply with this or any other

Court.
         Case 1:21-cr-00327-RC Document 47-1 Filed 01/12/22 Page 3 of 5




       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Honorable

Court enter an Order granting this Motion to Modify Pretrial Conditions of Release and make

such conditions that would allow Mr. Coffee to be away from his home outside of the current

home confinement hours and allow him to travel outside of the Northern and Eastern Districts

of Texas so that he can pursue additional work projects. Mr. Coffee would further request

permission to travel to the Western District of Texas on occasion so that he can confer with

his attorney at his office in Midland, Texas.


                                                Respectfully submitted.

                                                MAUREEN SCOTT FRANCO
                                                Federal Public Defender


                                                /s/ ANTHONY J. COLTON
                                                Supervisory Assistant Federal Public Defender
                                                Western District of Texas
                                                200 East Wall St., Room 110
                                                Midland, Texas 79701
                                                Tel.: (830) 703-2040
                                                Attorney for Defendant
          Case 1:21-cr-00327-RC Document 47-1 Filed 01/12/22 Page 4 of 5




                            CERTIFICATE OF CONFERENCE
       I certify that I conferred with Peter Lallas, Assistant United States Attorney, concerning
this motion and he is opposed to the filing and granting of the same.

                                                            /s/ ANTHONY J. COLTON


                               CERTIFICATE OF SERVICE
        I hereby certify that on the 12th day of January 2022, I electronically filed
 the foregoing Motion to Modify Pretrial Conditions of Release with the Clerk of Court
 using the CM/ECF system which will send notification of such filing to the AUSA in this
 case. As this filing is sealed, a copy was also forwarded to the following by email:


 Peter Lallas
 Assistant United States Attorney

                                              /s/ ANTHONY J. COLTON
                                              Attorney for Defendant
         Case 1:21-cr-00327-RC Document 47-1 Filed 01/12/22 Page 5 of 5




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
V.                                                          CAUSE NO. 1:21-CR-327-RC-1
                                                  §
                                                  §
LUKE RUSSELL COFFEE                               §


                                             ORDER
       On this date came on to be considered the Defendant’s Motion to Modify Pretrial Conditions

of Release. The Court, having considered the premises, is of the opinion that the same should be

and is hereby GRANTED so that the home confinement is removed as a condition and the

geographic condition is expanded to include travel throughout Texas.

       SO ORDERED on this the              day of January 2022.




                                            HONORABLE RUDOLPH CONTRERAS
                                            United States District Judge
